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 1                                    UNITED STATES DISTRICT COURT
 2                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3

 4   IN RE: JUUL LABS INC., MARKETING,                    CASE NO. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
 5   LIABILITY LITIGATION
                                                          CASE MANAGEMENT ORDER NO. 13:
 6                                                        GOVERNMENT ENTITY AND SCHOOL
 7                                                        DISTRICT FACT SHEET
                                                          IMPLEMENTATION ORDER
 8
     This Document Relates to:
 9                                                       HONORABLE WILLIAM H. ORRICK
     All matters
10

11

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13
            This Case Management Order (“CMO” or “Order”) governs the form, schedule for completion,
14
     and service of government entity (including school district) Plaintiff Fact Sheets (“PFS”) in this MDL.
15
     This Order applies to all government-entity Plaintiffs (including school-district Plaintiffs) (collectively
16
     “Government-Entity Plaintiffs”) and their counsel in: (a) all actions transferred to In re: JUUL Labs, Inc.,
17
     Marketing, Sales Practices, and Products Liability Litigation (“MDL-2913”) by the Judicial Panel on
18
     Multidistrict Litigation (“JPML”) pursuant to its Order dated October 2, 2019 and (b) to all related actions
19
     directly filed in or removed to this Court.
20
            Online Platform
21
            The Court hereby appoints BrownGreer, PLC (“BrownGreer”) to serve as the online platform for
22
     the data management of the PFS. The parties are directed to utilize BrownGreer’s platform, “MDL
23
     Centrality,” to fulfill their PFS obligations and also, to the extent necessary, directly or through their
24
     designated representatives, to enter into a contract with the company specifying the services to be
25
     provided, the costs of such services, and the parties’ payment obligations. BrownGreer shall work with
26
     the parties to compile all necessary data. Government-Entity Plaintiffs shall serve their respective PFS
27

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       GOVERNMENT ENTITY AND SCHOOL DISTRICT FACT SHEET IMPLEMENTATION
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 1   and documents responsive to the requests in the PFS (“Responsive Documents”) by uploading them to
 2   MDL Centrality. Uploading the responsive discovery to MDL Centrality shall constitute effective service.
 3          Plaintiff Fact Sheets
 4          The Court has approved two PFSs for Government-Entity Plaintiffs—one for government-entity
 5   Plaintiffs, generally, and one specific to school-district Plaintiffs—which both also include document
 6   requests. See Exhibits 1-2. Each Government-Entity Plaintiff must complete and submit the appropriate
 7   PFS and Responsive Documents through MDL Centrality pursuant to the terms of this Order.
 8          The obligation to comply with this CMO and to provide a PFS shall fall solely to the individual
 9   counsel representing a Government-Entity Plaintiff. As with all case-specific discovery, Plaintiffs’ Lead
10   Counsel and the members of the Plaintiffs’ Steering Committee are not obligated to conduct case-specific
11   discovery for Plaintiffs by whom they have not been individually retained. In addition, Plaintiffs’ Lead
12   Counsel and the members of the Plaintiffs’ Steering Committee have no obligation to notify counsel for
13   Government-Entity Plaintiffs whom they do not represent of Defendants’ notice of overdue or deficient
14   discovery or to respond to any motion practice pertaining thereto.
15          Discovery Mechanism
16          The effect of a Government-Entity Plaintiff’s response to the questions contained in the PFS shall
17   be considered the same as interrogatory responses, and where documents are requested, responses shall
18   be considered the same as responses to requests for production under the Federal Rules of Civil Procedure,
19   and will be governed by the standards applicable to written discovery under the Federal Rules of Civil
20   Procedure.
21          A PFS is served without prejudice to the Defendants’ rights to serve additional discovery (which
22   Defendants specifically reserve the right to serve). The Parties have agreed that additional discovery
23   requests are appropriate for those cases that are chosen by the Parties and/or the Court as potential
24   bellwether trial candidates. The Government-Entity Plaintiffs do not waive their rights to assert objections
25   permitted under the Federal Rules of Civil Procedure to any additional discovery.
26          PFS Deadlines
27          The following PFS deadlines shall apply:
28                                                        2

       GOVERNMENT ENTITY AND SCHOOL DISTRICT FACT SHEET IMPLEMENTATION
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 1            A.    Cases filed on or before the date of the entry of this Order: For cases directly filed in
 2   this judicial district and entered on the MDL 2913 docket on or before entry of this Order and for cases
 3   the JPML transfers to MDL 2913 on or before entry of this Order, each Government-Entity Plaintiff must
 4   complete and submit a PFS and produce Responsive Documents within 60 days after entry of this Order.
 5   A case shall be deemed transferred to MDL 2913 either: (a) on the date the Clerk enters a certified copy
 6   of the JPML’s Conditional Transfer Order on the docket of this Court, or (b) where transfer is contested,
 7   the date of transfer in any subsequent order from the JPML.
 8            B.    Cases filed after the date of the entry of this Order: For cases directly filed in this
 9   judicial district and entered on the MDL 2913 docket after entry of this Order, each Government-Entity
10   Plaintiff must complete and submit a PFS and produce Responsive Documents within 60 days after the
11   complaint has been entered on the docket. For cases the JPML transfers to MDL 2913 after entry of this
12   Order, each Government-Entity Plaintiff must complete and submit a PFS and produce Responsive
13   Documents within 60 days after the case has been transferred to this Court as defined in paragraph 5(A)
14   above.
15            Substantial Completeness of PFS
16            A.    Substantial completeness: PFS submissions must be substantially complete, which
17   means the Government-Entity Plaintiff must:
18            1.    Answer all applicable questions (a Government Entity-Plaintiff may answer questions in
19   good faith by indicating “not applicable,” “I don’t know,” or “unknown”);
20            2.    Include a signed Declaration; and
21            3.    Produce Responsive Documents to the extent such documents are in the Government-
22   Entity Plaintiff’s possession, custody, or control.
23            B.    Deficiency notice: If a Defendant considers a PFS to be materially deficient, a deficiency
24   notice outlining the purported deficiency(ies) shall be served on the Government-Entity Plaintiff’s
25   attorney of record via MDL Centrality. The deficient Government-Entity Plaintiff will have thirty (30)
26   days to correct the alleged deficiency(ies).
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       GOVERNMENT ENTITY AND SCHOOL DISTRICT FACT SHEET IMPLEMENTATION
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 1          Objections Reserved to PFS
 2          All objections to the admissibility of information contained in the PFS are reserved; therefore, no
 3   objections shall be lodged in the responses to the questions and requests contained therein. This paragraph,
 4   however, does not prohibit a Government-Entity Plaintiff from withholding or redacting information
 5   based upon a recognized privilege. Documents withheld on the basis of privilege shall be logged in
 6   accordance with the requirements of Case Management Order No. 4: Rule 502(d) and Privileged Materials
 7   Order, Docket No. 322, Section C.
 8          Confidentiality of Data
 9          Information any Government-Entity Plaintiff provides pursuant to a PFS is deemed confidential,
10   and may be disclosed only as permitted by the Protective Order.
11          Scope of Depositions and Admissibility of Evidence
12          Nothing in the PFS shall be deemed to limit the scope of inquiry at depositions and admissibility
13   of evidence at trial. The scope of inquiry at depositions shall remain governed by the Federal Rules of
14   Civil Procedure. The Federal Rules of Evidence shall govern the admissibility of information contained
15   in responses to the PFS and no objections are waived by virtue of providing information in any PFS.
16          Failure to Serve PFS
17          A.      Notice by Defendants of overdue discovery: Any Government-Entity Plaintiff who fails
18   to comply with its PFS obligations under this Order may be subject to having its claims dismissed. If a
19   Government-Entity Plaintiff has not submitted a completed PFS within 30 days following the due date set
20   forth herein, any Defendant may send a Notice of Overdue Discovery via MDL Centrality.
21          B.      Motion to dismiss without prejudice: If a Government-Entity Plaintiff fails to submit a
22   completed PFS within 30 days after receipt of the Notice of Overdue Discovery, any Defendant may move
23   the Court for an order dismissing the Government-Entity Plaintiff’s complaint without prejudice. A
24   Government-Entity Plaintiff subject to such motion shall have 14 days from the date of the Defendant’s
25   motion to file a response either (a) certifying that the Government-Entity Plaintiff has submitted a
26   completed PFS or (b) opposing the Defendant’s motion for other reasons. If a Government-Entity Plaintiff
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       GOVERNMENT ENTITY AND SCHOOL DISTRICT FACT SHEET IMPLEMENTATION
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 1   certifies that he or she has submitted a completed PFS, the Government-Entity Plaintiff’s claims shall not
 2   be dismissed (unless the Court finds that the certification is false or incorrect).
 3            C.       Motion to convert order of dismissal without prejudice to order of dismissal with
 4   prejudice: If the Court dismisses a complaint without prejudice under the previous paragraph, the
 5   Defendant may move the court no earlier than 30 days after the Court’s entry of the Order of dismissal
 6   without prejudice to convert the Order to an Order of dismissal with prejudice. This provision does not
 7   in any way reduce or mitigate Defendant’s burden in proving to the Court that a dismissal with prejudice
 8   is warranted under whatever statute, rule or caselaw Defendant brings its motion. If the government-entity
 9   Plaintiff serves Defendant’s counsel or their designee(s) with a completed PFS prior to the filing of
10   Defendant’s motion to convert a dismissal without prejudice to a dismissal with prejudice, the parties shall
11   submit a stipulated motion to vacate the dismissal without prejudice Order.
12            This Order may be modified by a Stipulated Order of the parties or by the Court for good cause
13   shown.
14            IT IS SO ORDERED.
15

16            DATED: October 22, 2020
17

18                                                          HONORABLE WILLIAM H. ORRICK
19                                                          United States District Judge

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     4839-6700-4366, v. 3
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        GOVERNMENT ENTITY AND SCHOOL DISTRICT FACT SHEET IMPLEMENTATION
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                                           EXHIBIT 1


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

 IN RE: JUUL LABS, INC., MARKETING,                   MDL No. 2913
 SALES PRACTICES, AND PRODUCTS                        Case No. 19-md-02913-WHO
 LIABILITY LITIGATION

 This document relates to:

 ALL ACTIONS



                 PLAINTIFF FACT SHEET - GOVERNMENT ENTITIES

        Please provide the following information for each government entity plaintiff that has filed
a complaint in the In Re Juul Labs, Inc., Marketing, Sales Practices, and Products Liability
Litigation, MDL No. 13-2913. In completing this Plaintiff Fact Sheet (PFS), you are under oath
and must provide information that is true and correct to the best of your knowledge, information
and belief. Please do not leave any questions unanswered or blank. If you are filling out this Fact
Sheet in hard copy, use additional sheets as needed to fully respond.

      You may and should consult with your attorney if you have any questions regarding the
completion of this form.

        This Plaintiff Fact Sheet constitutes discovery responses subject to the Federal Rules of
Civil Procedure. Information provided will only be used for purposes related to this litigation and
may be disclosed only as permitted by the Protective Order.

                                       INSTRUCTIONS:

       1.   “You” and “Your” as used throughout this PFS means each Government Entity
            Plaintiff named in this action.

       2. As used throughout this PFS and consistent with the Court’s October 9, 2020 Order
          (Docket No. 1038), “any existing report, survey, analysis, study, or other document that
          tracks or otherwise provides an overview of” the issues addressed by the particular
          question (for example, the prevalence of use of tobacco or nicotine products, vaping or
          e-cigarettes, alcohol, drugs, other illicit substances, and expenditures made to address
          the use of these products or substances) means information that has already been
          compiled. If these types of documents exist, they should be produced. That already
          compiled information is only available or stored via email is not a reason for it not to
          be produced. Each Plaintiff must diligently investigate whether it has compiled in any
          form the information sought. This investigation might involve asking an appropriate
          person at particular county/city agencies to provide the Plaintiff with a document/report
          that has already compiled information. However, if information has not been compiled
          or summarized on these topics it does not need to be located, described or produced
          (i.e., You are not required to locate, compile, sort, describe or produce underlying



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                                         EXHIBIT 1


        records that might show, for example, the prevalence of use or expenses incurred to
        address these products or substances).

     3. “Citizen” means any resident within Your geographic bounds.

     4. Please attach additional pages where necessary.

I.   CASE INFORMATION

     1. Plaintiff:

     2. Case name:

     3. Case number:

     4. Name of the court in which the complaint was initially filed:



     5. Filing date of the complaint:

     6. Named defendant(s) in the complaint:




     7. Name, firm, and e-mail address of principal attorney(s) representing You:

        Name:
        Firm:
        Email address:

     8. Description of the citizens and entities You purport to represent in this lawsuit:

        ____________________________________________________________________
        ____________________________________________________________________
        ____________________________________________________________________
     9. Are You seeking damages on behalf of schools?

        ___ Yes ___ No

        If yes, please also fill out the School District Plaintiff Fact Sheet.




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                                         EXHIBIT 1


II.   CITY/COUNTY DATA

      10. Total number of citizens within Your city/county:___________________

      11. Percentage of citizens in Your city/county under the age of 18:_________

      12. In any of the past 10 (ten) years has the total number of citizens in Your city/county
          been 20% more or 20% less than the figure reported in Question No. 10?

         ___ Yes ___ No

         If yes, please state the total number of citizens within Your city/county for each such
         year, or if that information isn’t reasonably available, give a description of the
         approximate population change over the last 10 years.

         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

      13. All zip codes encompassed within Your geographic boundaries:

         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________

      14. Identify the minimum legal purchase age for tobacco products (including but not
          limited to cigarettes and smokeless tobacco products) in Your city/county for each
          year since 2012:

         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________

      15. Identify the minimum legal age to purchase e-cigarettes in Your city/county or state
          from 2012 – present:

         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________




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       16. Number of schools in Your city/county:

          a. Number of high schools: ____________________________

          b. Number of middle schools:___________________________

          c. Number of elementary schools:________________________

       17. Provide the percentages of youth who have tried e-cigarettes and also youth who
           currently use e-cigarettes in Your city/county for the years in which that information
           is reasonably available or attach reports showing the same:

          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________
       18. Have You or any organization or entity in Your city/county had any communications
           or interactions with any of the Defendants for any reason, including in connection
           with anti-smoking programs or youth vaping programs?

          _____ Yes _____ No

          If yes, for each communication or interaction, state (1) the date the communication or
          interaction occurred; (2) the nature of the communication or interaction; and (3)
          summarize Your portion of the communication.
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________



III.   PERSONS WITH RELEVANT KNOWLEDGE

       19. Identify the person(s) in Your city/county, if applicable, who held the following
           position(s) or their equivalent, since 2012:

          a. Mayors and Vice Mayors: ______________________________________

          b. City Councilmembers: _________________________________________

          c. City Managers: _______________________________________________

          d. County Commissioners: ________________________________________




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          e. County Supervisors: ___________________________________________

          f. County Executives: ___________________________________________

          g. Chief Health Officers: _________________________________________

          h. Tobacco Prevention Control Manager:_____________________________

       20. Do any of the individuals identified above monitor, follow, record, or track data
           relating to vaping or e-cigarettes?

          _____ Yes _____ No

          If yes, identify those individuals

          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
       21. Identify the person(s) in Plaintiff’s city/county most knowledgeable about youth use
           of tobacco or nicotine products, e-cigarettes and vaping products, alcohol, drugs, or
           other illicit substances, and the impact of such use on Plaintiff’s city and county, from
           2012 – present.

          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________

IV.    DAMAGES

       22. Please state generally in what way or how You claim You have been damaged by
           Defendants’ alleged acts at issue in this lawsuit.

          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________


       23. Are You seeking any monetary damages?




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    _____ Yes _____ No

    If Yes, identify each category of damages or monetary relief that You allege. This
    request is not designed to require an expert evaluation.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 24. Are You seeking damages or other monetary relief based in whole or in part on
     personal injury to any individual(s)?

    _____ Yes _____ No

    If Yes, identify each individual and the alleged personal injury:
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
 25. Are You seeking injunctive relief?

    _____ Yes _____ No

    If Yes, identify each category of injunctive relief that you seek. This request is not
    designed to require an expert evaluation.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 26. Are You seeking abatement?

    _____ Yes _____ No

    If Yes, identify each category of abatement that you seek. This request is not
    designed to require an expert evaluation.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________



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      27. Identify the approximate date (i.e., month and year) when You claim You were first
          injured and began to incur damages as a result of Defendants’ alleged conduct. This
          request is not designed to require an expert evaluation.

         _____________________________________________________________________
         _____________________________________________________________________


      28. Have You been involved in any e-cigarette or vaping related lawsuit in the past?

         _____ Yes _____ No

         If yes, for each lawsuit, state (1) the court in which the lawsuit was filed; (2) the case
         name; (3) the civil action or docket number assigned to the lawsuit; and (4) a
         description of Your involvement or claims in the lawsuit.
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________


V.    VAPING AND E-CIGARETTE RELATED SERVICES AND PROGRAMS


      29. Have You enacted any legislation or regulations relating to or designed to limit youth
          use of e-cigarettes from 2012 – present?

         _____ Yes _____ No

         If yes, identify the legislation’s or regulation’s name, topic, and the date it was
             enacted.
         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________

      30. Have You formed or participated in any task force, other program, or group to
          address any issue related to vaping or e-cigarettes from 2012 – present?

         _____ Yes _____ No

         If yes, identify the program’s name and the date it was formed.
         ____________________________________________________________________
         ____________________________________________________________________


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                                   EXHIBIT 1


    ____________________________________________________________________


 31. Have You provided any vaping or e-cigarette prevention or education classes or
     programs in Your city/county from 2012 – present?

    _____ Yes _____ No

    If yes, identify the program’s name and the dates it was in existence.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 32. Have You provided any vaping prevention or education materials to organizations or
     individuals in Your city/county from 2012 – present?

    _____ Yes _____ No

    If yes, identify the date of utilization for each set of materials.
    ____________________________________________________________________
    ____________________________________________________________________

 33. Have You provided any vaping or e-cigarette cessation classes or programs in Your
     city/county from 2012 – present?

    _____ Yes _____ No

    If yes, identify the program’s name and the dates it was in existence.
    ____________________________________________________________________
    ____________________________________________________________________
    ____________________________________________________________________


 34. Have You engaged in any enforcement actions relating to the purchase or use of
     vaping or e-cigarette products by underage users in Your city/county?

    _____ Yes _____ No

    If yes, identify the enforcement program and, to the extent they are available in the
    ordinary course of business, provide anonymized reports summarizing said
    enforcement activity from 2012 – present.
    ____________________________________________________________________
    ____________________________________________________________________



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                                          EXHIBIT 1


          ____________________________________________________________________


       35. Have You received any grant, donation, or other funding designated for or allocated
           to addressing issues relating to vaping or e-cigarettes from 2012 – present?

          _____ Yes _____ No

          If yes, provide a general description of grant/donation/funding.
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________


       36. Generally describe Your efforts, if any, to limit youth access to e-cigarettes or vaping
           products in Your city/county from 2012 – present.
           _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________

VI.    REPORTS AND INFORMATION RELATING TO E-CIGARETTES, TOBACCO,
       ALCOHOL, DRUGS, AND OTHER ILLICIT SUBSTANCES


       37. Do You possess any existing report, survey, analysis, study or other document that
           tracks or otherwise provides an overview of or describes the prevalence of vaping or
           e-cigarette use by youth in Your city/county?

          _____ Yes _____ No

          If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
          documents as they are kept in the ordinary course of business, and without identifying
          any youth-specific data, from 2012 – present.
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________


       38. Do You possess any existing report, survey, analysis, study or other document that
          tracks or otherwise provides an overview of or describes the prevalence of tobacco or
          nicotine products use by youth in Your city/county?

          _____ Yes _____ No



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    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any youth-specific data, from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 39. Generally describe Your efforts, if any, to limit youth access to tobacco or nicotine
     products in Your city/county from 2012 – present.
     _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 40. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes the prevalence of alcohol
     use by youth in Your city/county?

    _____ Yes _____ No

    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any youth-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 41. Generally describe Your efforts, if any, to limit youth access to alcohol in Your
     city/county from 2012 – present.
     _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________




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 42. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes the prevalence of drug use
     by youth in Your city/county?

    _____ Yes _____ No

    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any youth-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 43. Generally describe Your efforts, if any, to limit youth access to drugs in Your
     city/county from 2012 – present.
     _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 44. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes the prevalence of use by
     youth in Your city/county of other illicit substances?

    _____ Yes _____ No

    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any youth-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 45. Generally describe Your efforts, if any, to limit youth access to other illicit substances
     in Your city/county from 2012 – present.
     _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________



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                                   EXHIBIT 1


    _____________________________________________________________________


 46. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address youth use of vaping or e-cigarettes in Your city/county?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
 47. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address youth use of tobacco or nicotine products in Your city/county?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 48. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address youth use of alcohol in Your city/county?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________




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                                             EXHIBIT 1


         49. Do You possess any existing report, survey, analysis, study or other document that
             tracks or otherwise provides an overview of or describes expenditures that You made
             to address youth use of drugs in Your city/county?

              ___ Yes ___No

              If yes, please produce a copy of such reports, surveys, analyses, studies, or other
              documents as they are kept in the ordinary course of business from 2012 – present.

              _____________________________________________________________________
              _____________________________________________________________________
              _____________________________________________________________________

         50. Do You possess any existing report, survey, analysis, study or other document that
             tracks or otherwise provides an overview of or describes expenditures that You made
             to address youth use of other illicit substances in Your city/county?

              ___ Yes ___No

              If yes, please produce a copy of such reports, surveys, analyses, studies, or other
              documents as they are kept in the ordinary course of business from 2012 – present.

              _____________________________________________________________________
              _____________________________________________________________________
              _____________________________________________________________________
                                         CERTIFICATION

        I declare under penalty of perjury that all of the information provided in this Plaintiff Fact
Sheet is complete, true, and correct to the best of my knowledge and information, and that I have
provided all of the requested documents that are reasonably accessible to me and/or my attorneys,
to the best of my knowledge

 _____________________________________                 _____________________________________
 Signature                                             Date

 _____________________________________                 _____________________________________
 Name (Printed)                                        Title


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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

 IN RE: JUUL LABS, INC., MARKETING,                   MDL No. 2913
 SALES PRACTICES, AND PRODUCTS                        Case No. 19-md-02913-WHO
 LIABILITY LITIGATION

 This document relates to:

 ALL ACTIONS



                    PLAINTIFF FACT SHEET – SCHOOL DISTRICTS

        Please provide the following information for each school district plaintiff that has filed a
complaint in the In Re Juul Labs, Inc., Marketing, Sales Practices, and Products Liability
Litigation, MDL No. 13-2913. In completing this Plaintiff Fact Sheet (PFS), you are under oath
and must provide information that is true and correct to the best of your knowledge, information
and belief. Please do not leave any questions unanswered or blank. If you are filling out this Fact
Sheet in hard copy, use additional sheets as needed to fully respond.

      You may and should consult with your attorney if you have any questions regarding the
completion of this form.

       This Plaintiff Fact Sheet constitutes discovery responses subject to the Federal Rules of
Civil Procedure. Information provided will only be used for purposes related to this litigation
and may be disclosed only as permitted by the Protective Order.

                                       INSTRUCTIONS:

       1. “You” and “Your” as used throughout this PFS means each school district Plaintiff
          named in this action.

       2. As used throughout this PFS and consistent with the Court’s October 9, 2020 Order
          (Docket No. 1038), “any existing report, survey, analysis, study, or other document that
          tracks or otherwise provides an overview of” the issues addressed by the particular
          question (for example, the prevalence of use of tobacco or nicotine products, vaping or
          e-cigarettes, alcohol, drugs, other illicit substances, and expenditures made to address
          the use of these products or substances) means information that has already been
          compiled. If these types of documents exist, they should be produced. That already
          compiled information is only available or stored via email is not a reason for it not to
          be produced. Each Plaintiff should diligently investigate whether it has compiled in
          any form the information sought. This investigation might involve a district employee
          asking an appropriate person at each school to provide the district with a
          document/report that has already compiled information. However, if information has
          not been compiled or summarized on these topics it does not need to be located,
          described or produced (i.e., You are not required to locate, compile, sort, describe or



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          produce underlying records that might show, for example, the prevalence of use or
          expenses incurred to address these products or substances).

       3. Please attach additional pages where necessary.

I.     CASE INFORMATION

       1. Plaintiff:

       2. Case name:

       3. Case number:

       4. Name of the court in which the complaint was initially filed:



       5. Filing date of the complaint:

       6. Named defendant(s) in the complaint:




       7. Name, firm, and e-mail address of principal attorney(s) representing You:

          Name:
          Firm:
          Email address:

II.    SCHOOL DISTRICT DATA

       8. Total number of schools in Plaintiff’s district:____________________

       9. Number of high schools in Plaintiff’s district:____________________

       10. Number of middle schools in Plaintiff’s district:__________________

       11. Number of elementary schools in Plaintiff’s district:_______________

       12. Total number of students in Plaintiff’s district: ___________________

       13. In any of the past 10 (ten) years has the total number of students in Plaintiff’s district
           been 20% more or 20% less than the figure reported in Question No. 12?

          ___ Yes ___ No




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           If yes, please state the total number of students within Plaintiff’s district for each such
           year, or if that information isn’t reasonably available, give a description of the
           approximate student population change over the last 10 years.

           _____________________________________________________________________
           _____________________________________________________________________
           _____________________________________________________________________
           _____________________________________________________________________

        14. Have You or any schools in Your district had any communications or interactions
            with any of the Defendants for any reason, including in connection with anti-smoking
            programs or youth vaping programs?

           _____ Yes _____ No

           If yes, for each communication or interaction, state (1) the date the communication or
           interaction occurred; (2) the nature of the communication or interaction; and (3)
           summarize Your portion of the communication.
           _____________________________________________________________________
           _____________________________________________________________________
           __________________________________________________________________

III.    PERSONS WITH RELEVANT KNOWLEDGE

        15. Please identify the person(s) who held the following position(s) or their equivalent in
            Plaintiff’s District, since 2012:

               a. Superintendent(s):

               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________



               b. Vice or Assistant Superintendent(s):

               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________
        16. Please identify the person(s) in Plaintiff’s district most knowledgeable about student
            use on school property of tobacco or nicotine products, e-cigarettes and vaping


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          products, alcohol, drugs, or other illicit substances, and the impact of such use on
          Plaintiff’s district, from 2012 – present.

          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________

IV.    DAMAGES

       17. Please state generally in what way or how You claim You have been damaged by
           Defendants’ alleged acts at issue in this lawsuit.

          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________

       18. Are You seeking any monetary damages?

          _____ Yes _____ No

          If Yes, identify each category of damages or monetary relief that You allege. This
          request is not designed to require an expert evaluation.
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________


       19. Are You seeking damages or other monetary relief based in whole or in part on
           personal injury to any individual(s)?

          _____ Yes _____ No

          If Yes, identify each individual and the alleged personal injury:
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________




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      20. Are You seeking injunctive relief?

         _____ Yes _____ No

         If Yes, identify each category of injunctive relief that you seek. This request is not
         designed to require an expert evaluation:
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

      21. Are You seeking abatement?

         _____ Yes _____ No

         If Yes, identify each category of abatement that You seek. This request is not
         designed to require an expert evaluation:
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

      22. Identify the approximate date (i.e., month and year) when You claim You were first
          injured and began to incur damages as a result of Defendants’ alleged conduct. This
          request is not designed to require an expert evaluation.

         __________________________________________________________________

      23. Have You been involved in any e-cigarette or vaping related lawsuit in the past?

         _____ Yes _____ No

         If yes, for each lawsuit, state (1) the court in which the lawsuit was filed; (2) the case
         name; (3) the civil action or docket number assigned to the lawsuit; and (4) a
         description of your involvement or claims in the lawsuit.
         _____________________________________________________________________
         _____________________________________________________________________

V.    VAPING AND E-CIGARETTE RELATED SERVICES AND PROGRAMS

      24. Have You formed or participated in any task force, other program, or group to
          address any issue related to vaping or e-cigarettes from 2012 – present?



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    _____ Yes _____ No

    If yes, identify the name of any such program(s) and the date of formation:
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
 25. Have You provided any vaping or e-cigarette prevention or education classes or
    programs in Your schools from 2012 – present?
    _____ Yes _____ No

    If yes, identify the program’s name and the dates it was in existence:
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 26. Have You provided any vaping or e-cigarette cessation classes or programs in Your
     schools from 2012 – present?

    _____ Yes _____ No

    If yes, identify the program’s name and the dates it was in existence:
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 27. Have You received any grant, donation, or other funding designated for or allocated
     to addressing issues relating to vaping or e-cigarettes from 2012 – present?

    _____ Yes _____ No

    If yes, provide a general description of grant/donation/funding.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 28. Generally describe your efforts, if any, to limit student access to e-cigarettes or
     vaping products while on school property from 2012 – present.




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          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________

VI.    POLICIES AND REPORTS RELATING TO E-CIGARETTES, TOBACCO,
       ALCOHOL, DRUGS, AND OTHER ILLICIT SUBSTANCES

       29. Do You possess any existing report, survey, analysis, study or other document that
           tracks or otherwise provides an overview of or describes the prevalence of tobacco or
           nicotine products use in Your district?

          _____ Yes _____ No

          If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
          documents as they are kept in the ordinary course of business, and without identifying
          any student-specific data, from 2012 – present.
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________


       30. Do You possess any existing report, survey, analysis, study or other document that
           tracks or otherwise provides an overview of or describes the prevalence of vaping or
           e-cigarette use in Your district?

          _____ Yes _____ No

          If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
          documents as they are kept in the ordinary course of business, and without identifying
          any student-specific data, from 2012 – present.
          _____________________________________________________________________
          _____________________________________________________________________
          _____________________________________________________________________


       31. Do You possess any existing report, survey, analysis, study or other document that
           tracks or otherwise provides an overview of or describes the prevalence of alcohol
           use in Your district?

          _____ Yes _____ No

          If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
          documents as they are kept in the ordinary course of business, and without identifying
          any student-specific data, from 2012 – present.


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    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 32. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes the prevalence of drug use in
     Your district?

    _____ Yes _____ No

    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 33. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes the prevalence of use of
     other illicit substances in Your district?

    _____ Yes _____ No

    If yes, please provide a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 34. Do You possess any disciplinary codes, policies or codes of conduct that address use
     of tobacco or nicotine products e-cigarette or vaping products, alcohol, drugs, or other
     illicit substances?

    _____ Yes _____ No

    If yes, please attach copies of the relevant codes or policies from 2012 – present.




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    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 35. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of interventions, discipline or other
     consequences imposed on students for using tobacco or nicotine products on school
     premises?

    _____ Yes _____ No

    If yes, please produce a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 36. Generally describe Your efforts, if any, to limit use of tobacco or nicotine products
     in the schools in Your district from 2012-present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 37. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of interventions, discipline or other
     consequences imposed on students for using e-cigarette or vaping products on school
     premises?

    _____ Yes _____ No

    If yes, please produce a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.
    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________




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 38. Generally describe Your efforts, if any, to limit use of e-cigarette or vaping products
     in the schools in Your district from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________



 39. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of interventions, discipline or other
     consequences imposed on students for using alcohol on school premises?

    _____ Yes _____ No

    If yes, please produce a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 40. Generally describe Your efforts, if any, to limit use of alcohol in the schools in Your
     district from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 41. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of interventions, discipline or other
     consequences imposed on students for using drugs on school premises?

    _____ Yes _____ No

    If yes, please produce a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.




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    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 42. Generally describe Your efforts, if any, to limit use of drugs in the schools in Your
     district from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 43. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of interventions, discipline or other
     consequences imposed on students for using other illicit substances on school
     premises?

    _____ Yes _____ No

    If yes, please produce a copy of any such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business, and without identifying
    any student-specific data, from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
 44. Generally describe Your efforts, if any, to limit youth use of other illicit substances in
     the schools in Your district from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 45. Do You possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address use of tobacco or nicotine products in Your district?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.




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    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________


 46. Do you possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address use of vaping or e-cigarettes in Your district?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________
 47. Do you possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address use of alcohol in Your district?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________

 48. Do you possess any existing report, survey, analysis, study or other document that
     tracks or otherwise provides an overview of or describes expenditures that You made
     to address use of drugs in Your district?

    ___ Yes ___No

    If yes, please produce a copy of such reports, surveys, analyses, studies, or other
    documents as they are kept in the ordinary course of business from 2012 – present.

    _____________________________________________________________________
    _____________________________________________________________________
    _____________________________________________________________________



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         49. Do you possess any existing report, survey, analysis, study or other document that
             tracks or otherwise provides an overview of or describes expenditures that You made
             to address use of other illicit substances in Your district?

              ___ Yes ___No

              If yes, please produce a copy of such reports, surveys, analyses, studies, or other
              documents as they are kept in the ordinary course of business from 2012 – present.

              _____________________________________________________________________
              _____________________________________________________________________
              _____________________________________________________________________



                                         CERTIFICATION

        I declare under penalty of perjury that all of the information provided in this Plaintiff Fact
Sheet is complete, true, and correct to the best of my knowledge and information, and that I have
provided all of the requested documents that are reasonably accessible to me and/or my attorneys,
to the best of my knowledge

 _____________________________________                 _____________________________________
 Signature                                             Date

 _____________________________________                 _____________________________________
 Name (Printed)                                        Title


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